Case 8:22-cv-01660-AEP     Document 150       Filed 04/01/24   Page 1 of 20 PageID 3126




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 MUTUAL OF OMAHA                       )
 MORTGAGE, INC.,                       ) Civil Action No. 22-CV-01660
                                       )
                    Plaintiff,         ) PLAINTIFF MUTUAL OF OMAHA
                                       ) MORTGAGE, INC.’S RESPONSE IN
       v.                              ) OPPOSITION          TO    WATERSTONE
                                       ) MORTGAGE               CORPORATION’S
 WATERSTONE MORTGAGE                   ) MOTION FOR SUMMARY JUDGMENT
 CORPORATION,                          ) ON MUTUAL’S TRADE SECRET
                                       ) CLAIMS
                    Defendant.         )


       Plaintiff Mutual of Omaha Mortgage, Inc. (“Plaintiff” or “Mutual”) hereby

 files this Response in Opposition to Defendant Waterstone Mortgage Corporation’s

 (“Defendant” or “Waterstone”) Motion for Summary Judgment on Mutual’s Trade

 Secret Claims (“Motion”). In support thereof, Plaintiff states as follows:

                                 INTRODUCTION

       This case is the textbook example of the misappropriation of a competitor’s

 trade secrets in an effort to destroy its business. The record evidence shows that at

 Waterstone’s direction Mutual’s Former Employees utilized password and other

 access incidental to their then-current employment at Mutual to send trade secrets

 directly to Waterstone of the actions were the necessary prelude to Waterstone’s

 scheme to abscond with the entirety of Mutual’s Florida operations. Waterstone

 instructed the Former Employees him to download “as much information as
                                          1
Case 8:22-cv-01660-AEP     Document 150        Filed 04/01/24   Page 2 of 20 PageID 3127




 possible” from Mutual’s password-protected system. The deposition testimony

 corroborates dozens of e-mails demonstrating Waterstone’s motion for summary

 judgment is baseless.

       Waterstone’s argument that “several” of the documents identified as trade

 secrets do not qualify as such, ignores that a large amount of the documents are trade

 secrets. And the fact that Waterstone does not try to argue otherwise demonstrates

 its Motion is baseless. To demonstrate the baseless nature of this Motion, Mutual

 has categorized its protected trade secrets into four categories: (1) Mutual’s

 Qualified Business Opportunities/Customer Lists; (2) Financial Performance; (3)

 Employee Compensation/Personnel Information; and (4) Templates/Processes,

 which are supported as protected trade secrets. See Exhibit A.

       Finally, Waterstone’s reliance on its expert witness in an attempt to argue that

 Waterstone never used Mutual’s trade secrets is misplaced. Waterstone’s expert

 witness never physically analyzed Waterstone’s system himself.              But more

 importantly, it never analyzed nor attempted to quarantine the personal emails of

 Former Employees who – acting as Waterstone’s agents and with Waterstone’s full

 knowledge and permission – used their personal emails to misappropriate and use

 Mutual’s trade secrets. In fact, Waterstone’s expert witness is unable to say with

 full certainty that Waterstone did not, in fact, use these trade secrets. Because the

 record evidence shows that Waterstone was the but for cause of Mutual’s damages,



                                           2
Case 8:22-cv-01660-AEP           Document 150          Filed 04/01/24    Page 3 of 20 PageID 3128




 Mutual is entitled to pursue its lost profit damages. Accordingly, Waterstone’s

 Motion must be denied.

         RESPONSE TO WATERSTONE’S STATEMENT OF MATERIAL
                        UNDISPUTED FACTS

          Pursuant to Fed. R. Civ. P. 56(c), Mutual responds to Defendant’s Statement

 of Material Undisputed Facts as follows:1

          1.     Admit.

          2.     Deny. The citation does not support the fact, and the fact is disputed.

     See D.E. 37 (“Am. Compl.”) ¶¶ 3, 25, 35-42, 43-65.

          3.     Admit in part; denied in part. Admit that the Amended Complaint

 contains allegations that Mutual employees sent “policies and procedures,”

 “templates,” “forms,” and other “confidential documents” from their Mutual

 Mortgage email addresses to their personal email accounts and deny that these are

 “broad allegations.” Am. Compl. ¶¶ 40-42.

          4.     Admit in part; denied in part. Admit that Mutual sued Waterstone and

     Mutual’s former employees took Mutual’s trade secrets at Waterstone’s request.

     Denied to the extent this fact is a mischaracterization of the lawsuit.

          5.     Object on the grounds that this fact is not material to any claim.

          6.     Object on the grounds that this fact is not material to any claim.



 1
          For brevity, the factual paragraphs are not repeated within this opposition.


                                                   3
Case 8:22-cv-01660-AEP    Document 150        Filed 04/01/24   Page 4 of 20 PageID 3129




      7.     Object on the grounds that this fact is not material to any claim.

      8.     Object on the grounds that this fact is not material to any claim.

      9.     Object on the grounds that this fact is not material to any claim.

      10.    Object on the grounds that this fact is not material to any claim.

      11.    Denied to the extent that Waterstone’s counsel’s questioning of Mr.

 Gennarelli on this topic is inadmissible and calls for a legal conclusion. Ex. B,

 Gennarelli Dep. 228:5-25-248:22. Further, during this deposition, Mutual’s counsel

 objected on the grounds that Waterstone’s counsel refused to show Mr. Gennarelli

 the full family of attachments and only showed him piecemeal documents, which

 resulted in the questioning being taken out of context. Id. at 237:7-13. Mr.

 Gennarelli also testified that all of Mutual’s marketing materials are password-

 protected in Mutual’s system. Id. at 237:24-25.

      12.    Admit in part; denied in part. Admit that Waterstone’s expert witness’s

 report speaks for itself. Denied to the extent that Mr. Creasey conducted any search

 of Waterstone’s system. See Ex. C, Creasey Dep. 58:7-12; 58:18-20; 63:2-8.

 103:4-9; 105:10-16.

      13.    Denied for the same reasons set forth in paragraph 12. Further, Mr.

 Creasey was not retained by Waterstone to opine on what constitutes a trade secret.

 Ex. C, Creasey Dep. 135:5-7.




                                          4
Case 8:22-cv-01660-AEP     Document 150        Filed 04/01/24   Page 5 of 20 PageID 3130




      14.    Deny. Mutual objects to and denies paragraph 14 on the grounds that

 the fact is inadmissible because it calls for a legal conclusion. Mr. Creasey testified

 that it was only through “dumb luck” that Waterstone became aware of the fact that

 Mutual’s documents existed on Waterstone’s system because Mr. Wolf loaded

 Mutual’s documents into his OneDrive on April 27 at 10:34 p.m. Ex. C, Creasey

 Dep. 69:12-20. This triggered a malware alert. Id. at 80:15-17. The following

 morning the alert triggered—ten hours later—Mr. Howard began an investigation

 of the malware alert. Ex. C, Creasey Dep. 78:1-7; 83:9-14. It was at that point that

 Mr. Howard realized it was “unusual” for a new hire to have a “bunch of stuff” from

 Mutual in his OneDrive because he had just been hired, which he recognized as

 “being a potential problem.” Ex. C, Creasey Dep. 97:5-19.

      15.    Deny. Ten hours after being notified of a potential security threat, Mr.

 Howard then looked into other “new hires for a similar potential issue[,]” but Mr.

 Creasey did not know who those new hires were. Ex. C, Creasey Dep. 103:4-9. As

 Mr. Creasey recognized, “generally as a person involved in information security

 you have some sense of, you know, materials from a prior employer showing up at

 your place of work could, you know, lead to issues, legal issues.” Id. 102:13-18.

      16.    Deny because the evidence does not support the fact asserted as Mr.

 Creasy does not have knowledge of this. Mr. Creasey did not know whose

 OneDrive accounts Mr. Howard searched. Ex. C, Creasey Dep. 103:4-9. Mr.



                                           5
Case 8:22-cv-01660-AEP    Document 150       Filed 04/01/24   Page 6 of 20 PageID 3131




 Creasey also did not know whether Mr. Howard’s investigation would have

 included all of Mutual’s Former Employees who joined Mutual. Ex. C, Creasey

 Dep. 105:10-16. Mr. Creasey was not aware of whether Waterstone conducted any

 analysis of whether the documents within their possession qualified as confidential

 information such that e-mails should be quarantined. Id. at 127:13-18.

      17.    Deny because the evidence does not support the fact asserted as Mr.

 Creasey does not have knowledge of this. Mr. Howard’s investigation resulted in

 five new hires’ OneDrives being quarantined, but Mr. Creasey did not know

 offhand whose they were. Ex. C, Creasey Dep. 108:16-20. Further Mr. Creasey is

 not able to confirm what Waterstone did with those documents that Mr. Creasey

 identified after Waterstone received them. Ex. C, Creasey Dep. 145:11-21; 146:1-

 7. In fact, Mr. Creasey explicitly testified that he was unable to opine on whether

 Waterstone used the e-mails in any capacity. Ex. C, Creasey Dep. 146:12-15. Mr.

 Creasey even admitted that it was possible that Mutual’s Former Employees still

 had Mutual documents in their possession even after they transferred to Waterstone.

 Ex. C, Creasey Dep. 156:7-11.

      18.    Admit that Mutual sent Waterstone multiple cease-and-desist letters on

 April 29, 2022.

      19.    Deny because the evidence does not support the fact asserted as Mr.

 Creasey does not have knowledge of this. Mr. Creasey did not speak with the



                                         6
Case 8:22-cv-01660-AEP    Document 150        Filed 04/01/24   Page 7 of 20 PageID 3132




 individuals who signed the certifications. Ex. C, Creasey Dep. 128:17-18. Mr.

 Creasey did not speak with any of Mutual’s Former Employees. Id. at 155:17-20.

 In fact, he admitted that it is possible Mutual’s Former Employees still had Mutual’s

 documents in their possession. Id. at 156:7-11.

      20.    Deny for the same reasons set forth in paragraph 11.

      21.    Deny for the same reasons set forth in paragraph 11.

      22.    Admit that Waterstone requested Mutual’s Profit & Loss Statements,

 and Mutual’s Former Employees sent those to Waterstone. On November 3, 2021,

 Christopher Wolf (“Wolf”) e-mailed Dustin Owen (“Owen”), who at the time was

 Waterstone’s Regional Vice President – Southeast, asking questions “from Chris

 [Smith] in Tampa and some others had [sic][.]”                Ex. D, WMC006263-

 WMC006271. In there, Wolf asked “can we send loans over to start and build up a

 balance of money to fund transition.” Id. at WMC006267. On February 17, 2022,

 Mutual’s Former Employee, Dwayne Hutto (“Mr. Hutto”) sent an e-mail from his

 Mutual e-mail address to Dustin Owen at Waterstone, attaching a copy of Mutual’s

 December 31, 2021 Profit and Loss (“P&L”) Statement for the Daytona Branch

 (Ex. E, MOM-0000038). Owen confirmed receipt of this e-mail. Id. Waterstone

 knew this was a piece of internal confidential financial information that should not

 be sent from another company because it was not publicly available and was

 valuable for evaluating the profitability of a branch and its employees and



                                          7
Case 8:22-cv-01660-AEP     Document 150        Filed 04/01/24   Page 8 of 20 PageID 3133




 facilitating the calculation of potential offers. Ex. F, Allen Dep. 219:2-18; 223:13-

 22; 224:1-22; 225:1-8; Ex. G, Deposition of Dwayne Hutto 88:20-22, 89:22-90:1-

 2. Despite knowing that it should not have this information, Waterstone never asked

 the Departed Employees to stop sending this information. Ex. F, Allen Dep.

 229:13-22; 230:16-22, 230:1-2. Rather, on March 3, 2022, Hutto e-mailed the

 Tampa P&L for December 2021 to his personal e-mail address. Ex. H, MOM-

 0000027-28. Using his personal e-mail address, Hutto again forwarded the P&L to

 Owen. Id. Owen responded to this e-mail stating, “Received. Thank you. I have

 sent this off to Kevin Allen (“Allen”), Waterstone’s Senior Vice President of Sales.

 Ex. I, MOM-0000035; Ex. F, Allen Dep. 33:17. On March 5, 2022, Owen wrote an

 e-mail to Wolf stating, “We then would want to start creating your database by

 transferring as much over as possible.” Ex. J, WMC008400; Ex. F, Allen Dep.

 151:9-16. This “database” relates to Encompass, which is a loan origination system

 that contains customers’ sensitive information pertaining to interest rates on loans

 that a lender has closed, the type of loan product, as well as the contact and detailed

 personal financial information of its borrowers. Ex. F, Allen Dep. 42:12-20;

 169:18-22. Sensitive information includes customers’ personal information, Social

 Security numbers, credit scores, and bank account numbers. Id. at 42:21-22; 43:1-

 5; 48:21-22-49:1-8. Waterstone knows this information is confidential proprietary

 information belonging to Mutual.         Ex. F, Allen Dep. 160:18-22; 161:1-4.



                                           8
Case 8:22-cv-01660-AEP       Document 150       Filed 04/01/24   Page 9 of 20 PageID 3134




 Waterstone agreed that it is “problematic” if Owen intended to mean that Wolf

 should transfer over as much information from his current employer as possible.

 Ex. F, Allen Dep. 50:11-16; 152:2-9, 18-22; 153:1; 155:5-14; 171:6-17.

         23.    Admit in part; denied in part. Admit that Mutual is unable to identify

 the loans that closed at Waterstone because that information is within Waterstone’s

 possession. See D.E. 100 ¶¶ 13-15. Denied to the extent that there is evidence that

 Waterstone diverted approximately 46 loans from Mutual to Waterstone. Id. ¶ 14.

         24.    Deny. Mr. Gennarelli testified during his deposition that there was a

 lot of value associated with the P&L Statement, but that Mutual was still calculating

 damages from this misappropriation at the time of his testimony. Ex. B, Gennarelli

 Dep. 251:14-25-253:14.        Waterstone’s own employees had admitted that this

 information was “valuable.” Ex. K, Christopher Wolf Deposition, 128:3-12.

         25.    Deny.

         26.    Deny. Waterstone’s own management participated in and encouraged

 in improperly obtaining Mutual’s confidential information and trade secrets. See,

 e.g.,    Ex.   L,   MOM-0001284,       WMC006389-WMC006391,              WMC007335.

 Waterstone did nothing to stop Mutual’s Former Employees from sending Mutual’s

 information to Waterstone and instead repeatedly received and used the

 information. Ex. F, Allen Dep. 275:5-19; 277:1-2. To the contrary, Waterstone

 continued to encourage, assist, and facilitate the theft of trade secrets as it would



                                            9
Case 8:22-cv-01660-AEP      Document 150      Filed 04/01/24   Page 10 of 20 PageID 3135




  assist in financing the Branch transition. See, e.g., Ex. N, WMC005267; Ex. F,

  Allen Dep. 37:1-9; 38:3-22-39:1-2.

       27.    Deny. In his deposition, Chris Wolf testified that Waterstone instructed

  him download “as much as possible” from Mutual’s password-protected loan

  origination system. Ex. K, Wolf Dep. 176:6-10. This included information

  pertaining to borrower names, loan amounts, borrower credit scores, loan types, and

  contact information for prior and current Mutual customers. Id. Waterstone admits

  this information was valuable. Id. On May 11, 2022, a Mutual employee who

  joined Waterstone, sent an e-mail to Smith providing a “suggested Encompass

  export map for the ‘Completed Loans’ folder.” Ex. M, MOM-0015236; Ex. F,

  Allen Dep. 165:1-3. Waterstone knows that the information within Encompass,

  particularly as it relates to interest rates on closed loans and the contact information

  for those borrowers, contains confidential valuable business information.            In

  response, on June 13, 2022, a loan officer at Mutual responded, providing a “closed

  loan list” in the field mapping that Waterstone requested from Encompass.

  Waterstone knew that this would include private information about customers who

  closed loans at Mutual and further admitted that it would be problematic for

  someone to have exported Mutual’s closed loan list out of Encompass. As further

  examples, Mr. Wolf sent Waterstone several pieces of borrower information See

  Ex. O, Compilation of E-mails, and Waterstone’s own management even



                                            10
Case 8:22-cv-01660-AEP      Document 150      Filed 04/01/24   Page 11 of 20 PageID 3136




  participated in and encouraged this activity. Waterstone was aware that these

  requests were improper.        See, e.g., Ex. L, MOM0001284, WMC006389-

  WMC006391, WMC007335. And from February through the end of April 2022,

  on at least 20 occasions, Wolf emailed personal financial data including borrowers’

  income, assets, tax returns, account balances, credit scores, social security numbers

  and other similar materials entrusted to Mutual, by emailing it first to his prior email

  and then to Waterstone. See Ex. O, Compilation of E-mails. Waterstone also

  admitted these were improper.

       28.    Denied for the reasons set forth in paragraph 27.

       29.    Denied for the same reasons set forth in paragraph 22.

       30.    Denied for the same reasons set forth in paragraph 22.

                                 LEGAL STANDARD

       Summary judgment is not appropriate where there are genuine disputes as to

 any material fact. Fed. R. Civ. P. 56(a). It is the movant’s burden to demonstrate

 that there is no genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

 317, 325 (1986) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144 (1970)). To do

 so, Defendant must show that “the record taken as a whole could not lead a rational

 trier of fact to find for the nonmoving party.” Matsushita Elec. Indus. Co. v. Zenith

 Radio Corp., 475 U.S. 574, 586-87 (1986). Indeed, the moving party bears “the

 responsibility of informing the . . . court of the basis for its motion, and identifying



                                            11
Case 8:22-cv-01660-AEP          Document 150        Filed 04/01/24      Page 12 of 20 PageID 3137




 those portions of ‘the pleadings, depositions, answers to interrogatories, and

 admissions on file, together with any affidavits, if any,’ which it believes

 demonstrates the absence of a genuine issue of material fact.” Celotex Corp. v.

 Catrett, 477 U.S. 317, 323 (1986).

                                          ARGUMENT

     I.   MUTUAL CAN IDENTIFY FOUR CATEGORIES OF TRADE
          SECRETS MISAPPROPRIATED BY WATERSTONE.

          A misappropriation of trade secrets claim2 is sufficient if there is proof that

 (1) the defendant misappropriated (2) the plaintiff’s trade secret.                      Compulife

 Software Inc. v. Newman, 959 F.3d 1288, 1310, 1311 n.13 (11th Cir. 2020).

 “[W]hether something is a trade secret is a question typically ‘resolved by a fact

 finder after full presentation of evidence from each side.’” Id. at 1311. A trade

 secret is misappropriated by use if it is used “without express or implied consent”

 and an individual “[u]sed improper means to acquire knowledge of the trade

 secret[.]” Id. (citing Fla. Stat. § 688.002(2)(b)).

          Although there are a large number of documents containing trade secrets that

 were misappropriated by Waterstone, they generally fall within four categories: (1)

 Mutual’s Qualified Business Opportunities/Customer Lists; (2) Financial

 2
         Mutual asserts two claims for misappropriation of trade secrets—one under the Defend
 Trade Secrets Act, 18 U.S.C. § 1836 (“DTSA”) and one under the Florida Uniform Trade Secrets
 Act, Fla. Stat. § 688.002 (“FUTSA”). For purposes of this Motion, the Court may analyze both
 claims together given their substantive similarities. See, e.g., Humanitary Med. Ctr., Inc. v. Africa,
 Case No. 8:23-cv-1792-WJF-TGW, 2023 WL 8779956, at *2 (M.D. Fla. Dec. 19, 2023).

                                                  12
Case 8:22-cv-01660-AEP     Document 150     Filed 04/01/24   Page 13 of 20 PageID 3138




 Performance; (3) Employee Compensation and Personnel Information; and (4)

 Templates/Processes. Each of these categories qualifies as a trade secret, and there

 are innumerable instances of Waterstone misappropriating these materials. First,

 Mutual’s Qualified Business Opportunities/Customer Lists include the identification

 of clients that had been qualified as both able and willing to proceed with a loan –

 something that in and of itself Waterstone deemed “valuable.” It also includes the

 private borrower information supporting and facilitating the theft of those business

 opportunities that were intended strictly for Mutual’s benefit and use. See, e.g.,

 Marine Turbo Eng’g Ltd. v. Turbocharger Servs. Worldwide, LLC, 2011 WL

 6754058, at *9 (S.D. Fla. Dec. 22, 2011) (“Customer lists and related information

 may constitute protectable trade secrets under Florida law.”); Sethscot Collection,

 Inc. v. Drbul, 669 So. 2d 1076, 1078 (Fla. 3d DCA 1996). A second category

 includes Mutual’s employee compensation and personnel information.               This

 information is nonpublic and carries value because in the hands of a competitor, it

 provides an advantage in formulating effective incentives to join its company. See,

 e.g., DynCorp Int’l v. AAR Airlift Grp., Inc., 664 F. App’x 844, 849 (11th Cir. 2016).

 A third category includes data on financial performance that provided nonpublic

 information to enable Waterstone to better value the branch and develop pricing and

 compensation formula to ensure profitability of the transition. See, e.g., Pinnacle

 Agri. Distribution, Inc. v. Mayo Fertilizer, Case No. 1:17-CV-029 (LAG), 2019 WL



                                          13
Case 8:22-cv-01660-AEP     Document 150      Filed 04/01/24   Page 14 of 20 PageID 3139




 13095501, at *12 (M.D. Ga. Mar. 29, 2019). The final category of documents

 involves Mutual’s templates and processes that were misappropriated to effectuate

 a smooth and seamless transition from Mutual to Waterstone. See, e.g., VAS Aero

 Servs., LLC v. Arroyo, 860 F. Supp. 2d 1349 (S.D. Fla. 2012). As set forth in the

 attached Exhibit A to this Motion, there are ample documents reflecting the

 examples of the misappropriation by Waterstone of each category of information.

  II.   THE FACT THE CERTAIN MATERIALS MAY NOT CONSTITUTE
        TRADE SECRETS IS NOT FATAL TO MUTUAL’S CLAIMS.

        During discovery, Mutual identified nearly a thousand documents that may

 have constituted confidential information and trade secrets. Waterstone myopically

 argues that simply because some of the documents may not contain trade secrets,

 this somehow entitles it to judgment on these claims, ignoring the plethora of record

 evidence reflecting that Waterstone engaged in mass misappropriation of trade

 secrets. But this logic ignores that there are still a large number of e-mails directly

 transmitted to Waterstone containing protected trade secrets in one of the four

 categories addressed herein.

        At a minimum, the determination of whether information qualifies as a trade

 secret is a highly factual question better suited for resolution by a jury after

 consideration of the surrounding circumstances. See Capital Asset Research Corp.

 v. Finnegan, 160 F.3d 683, 686 n.2 (11th Cir. 1998); Camp Creek Hospitality, Inc.

 v. Sheraton Franch. Corp., 139 F.3d 1396, 1410-11 (11th Cir. 1998); see also


                                           14
Case 8:22-cv-01660-AEP        Document 150       Filed 04/01/24     Page 15 of 20 PageID 3140




 Restatement of Law, Third, Unfair Competition, § 39 cmt. D (“It is not possible to

 state the precise criteria for determining the existence of a trade secret. The status

 of information claimed as a trade secret must be ascertained through a comparative

 evaluation of all the relevant factors, including the value, secrecy, and definiteness

 of the information as well as the nature of the defendant’s misconduct.”).

        By way of example, there is almost no dispute that Waterstone sending a

 request for completed loan information qualifies as an improper use for a protected

 trade secret. Waterstone requested that Mutual’s then Manager use his password

 protected access to download as much information as possible” from Mutual’s loan

 origination system,. It asked another then current Manger to provide compensation

 details and private contact information for branch employees. He provided that

 information.3

        As further examples, Mr. Wolf sent Waterstone several pieces of borrower

 information, and Waterstone’s own management even participated in and

 encouraged this activity.

 III.   WATERSTONE’S ALLEGED QUARANTINE WAS INSUFFICIENT
        AND UNTIMELY AND DID NOT PREVENT THE THEFT AND
        MISAPPROPRIATION OF TRADE SECRETS.

        Waterstone’s contention that Mutual cannot prove misappropriation of


 3
         At the January 30, 2024 hearing before the Court, the Court inquired into the “best-case
 example” of a trade secret, and undersigned counsel referenced this example. Hearing Trans. at
 45:14-23. In questioning Waterstone’s counsel, the Court seemingly acknowledged Mutual’s
 position stating, “[t]he map sounds like a trade secret. Right?” Trans. at 47:17-18.

                                               15
Case 8:22-cv-01660-AEP    Document 150     Filed 04/01/24   Page 16 of 20 PageID 3141




 Mutual’s trade secrets because its expert witness confirmed that the “vast majority”

 of Mutual’s trade secrets were never sent to Waterstone is directly contradicted by

 record evidence.   Waterstone’s expert witness admitted that his analysis only

 included the time period up to April 2022 and not beyond that. As demonstrated

 above, Mutual’s Former Employees sent confidential information and trade secrets

 to Waterstone after this time period. Mr. Creasy does not know what actions

 Waterstone undertook to determine whether information was confidential as defined

 in Mr. Carroll’s cease-and-desist letter. And in fact, Mr. Creasy was not even the

 individual who physically reviewed Waterstone’s facilities or computer systems.

 IV.   WATERSTONE’S MISAPPROPRIATION OF TRADE SECRETS
       SERVED AS THE PROXIMATE CAUSE OF MUTUAL’S DAMAGES.

       Mutual is not required to prove the specific injury from each and every

 misappropriated trade secret. In this Circuit, “[i]t has long been the position that

 ‘where the secret has not been destroyed and where the plaintiff is unable to prove

 specific injury’ the accepted approach to computing damages ‘is to measure the

 value of the secret to the defendant.’” Hurry Family Revocable Trust v. Frankel,

 Case No. 8:18-cv-2869-CEH-CPT, 2022 WL 3156202, at *11 (M.D. Fla. Aug. 8,

 2022) (citing Univ. Computing Co. v. Lykes-Youngstown Corp., 504 F.2d 518, 535

 (5th Cir. 1974)). Though Waterstone engaged in multiple tortious acts, the gateway

 through which its wrongful conduct was enabled was the misappropriation of

 Mutual’s trade secrets. The conspiracy to steal Mutual Florida Operations began


                                         16
Case 8:22-cv-01660-AEP     Document 150      Filed 04/01/24    Page 17 of 20 PageID 3142




 with the concept of diverting identified qualified customers to Waterstone. Mr.

 Smith requested that he be able to send over a transition team to build up a pipeline

 of customers that he clearly thought would be critical to any successful transition.

 And ultimately, Waterstone did just this. It invited the former employees to send

 over a transition team and in connection therewith, misappropriate “as much as

 possible” in terms of trade secrets. Ex. K, Wolf Dep. 176:6-10. It utilized the

 transition team and the utilization of private email to divert dozens of qualified leads

 and enable to transfer of private borrower information so that loan officers could

 transition without loss of their pipeline. Id. at 176:6-21. Additionally, Waterstone’s

 use of personnel information and Mutual’s P&L Statements allowed Waterstone

 access to information that was not otherwise publicly available to recruit loan

 officers and develop financial and compensation models that would lure over Mutual

 Florida’s employees without compromising Waterstone’s eventual profitability. Id.

       Further, Mutual’s Former Employees specifically stated that a critical element

 in the theft of Mutual Florida’s operations was the seamless transition of the

 branches.    And Waterstone’s focus on taking customers, customer lists, and

 prequalified customers was obviously critical to that transition.         Indeed, had

 Waterstone not taken this information, it is highly unlikely that a group of employees

 whose compensation was premised on commission would have left Mutual without

 customer lists or the pipeline of customers needed to fund any transition and/or



                                           17
Case 8:22-cv-01660-AEP     Document 150     Filed 04/01/24   Page 18 of 20 PageID 3143




 seamless move their business. The mere prospect of losing existing deals, their

 marketing databases, information about past customers and then-present

 opportunities would have precluded the wholesale “seamless” transition. The

 prospect of needing to develop new customer and marketing databases free of

 Mutual’s trade secrets would have undermined Waterstone’s plans. The very fact

 that Waterstone allowed the Former Employees to hire a third party to begin using

 Mutual’s trade secrets to begin setting up appointments with potential clients (using

 Mutual’s likeness) before and in anticipation of the transition demonstrates the

 critical role this information played in the transition.      The fact Waterstone

 specifically told the Former Employees to take “as much information as possible”

 from Mutual’s password protected databases precludes any argument that this

 information as not critical to Waterstone’s plan. As such – consistent with the very

 plan from its outset – Waterstone’s theft of the financials, qualified customers,

 customer information, and customer lists were critical and necessary predicate to the

 illegal actions that followed.

       It follows then that because Waterstone acted as the “but for” of Mutual’s

 damages, Mutual is entitled to pursue its lost profit damages. See, e.g., 18 U.S.C. §

 1836(b)(3)(B)(i)(I); Fla. Stat. § 688.004(1); Premier Lab Supply, Inc. v. Chemplex

 Indus., Inc., 94 So. 3d 640, 646 (Fla. 4th DCA 2012).




                                          18
Case 8:22-cv-01660-AEP    Document 150     Filed 04/01/24   Page 19 of 20 PageID 3144




  V.   IT IS A QUESTION FOR THE JURY AS TO WHETHER MUTUAL’S
       PROFIT AND LOSS STATEMENTS QUALIFY AS A PROTECTED
       TRADE SECRET.

       There is no question that Mutual’s Former Employees, specifically Dwayne

 Hutto, sent himself and Waterstone multiple e-mails containing Mutual’s P&L

 Statements on multiple occasions. The P&L Statements contained the following

 information. All of which is not publicly available.

       Finally, courts across the country have repeatedly refused to enter summary

 judgment in favor of defendants under similar scenarios because profit and loss

 statements qualify as trade secrets such that they are protected and liability may

 imposed for their misappropriation. See, e.g., Jim Hawk Truck-Trailers of Sioux

 Falls, Inc. v. Crossroads Trailer Sales & Serv., Inc., 655 F. Supp. 3d 825, 848

 (D.S.D. 2023).




                                         19
Case 8:22-cv-01660-AEP   Document 150    Filed 04/01/24   Page 20 of 20 PageID 3145




  Dated:   Washington, D.C.
           April 1, 2024


                           MITCHELL SANDLER PLLC

                           By: /s/ Ari Karen

                           Ari Karen (admitted pro hac vice)
                           Christopher L. McCall (admitted pro hac vice)
                           Courtney E. Walter
                           1120 20th Street NW, Suite 725
                           Washington, D.C. 20036
                           Email: akaren@mitchellsandler.com
                           Email: cmccall@mitchellsandler.com
                           Email: cwalter@mitchellsandler.com
                           Telephone: (202) 886-5292

                           GUNSTER, YOAKLEY & STEWART, P.A.

                           John A. Schifino
                           Florida Bar No. 0072321
                           401 East Jackson Street, Suite 1500
                           Tampa, Florida 33602
                           Primary email: jschifino@gunster.com
                           Secondary email: eservice@gunster.com
                           Telephone: (813) 739-6962


                           Attorneys for Plaintiff Mutual of Omaha Mortgage, Inc.




                                        20
